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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

United States of America,              )
                                       )
                Plaintiff,             )       ORDER
                                       )
         vs.                           )
                                       )
Ronald Paul Yellow, Jr.,               )       Case No. 1:21-cr-235
                                       )
                Defendant.             )


         On April 26, 2023, the court issued an order releasing Defendant to the Hope and Healing

Addiction and Treatment Centers’ (“H&H”) inpatient treatment facility in Mesa, Arizona. (Doc. No.

178).

         On June 23, 2023, Defendant file a Motion to Amend Order Granting Release. (Doc No.

231). He advises that he has been relocated to residential treatment program at Sterling House in

Scottsdale, Arizona. He further advises that this program is still part of H&H. Nevertheless, out

of an abundance of caution, he requests that the court amend his release conditions reflect the current

location of his treatment.

         The court GRANTS Defendant’s motion (Doc. No. 231) and AMENDS his release

conditions to permit him to reside at Sterling House and participate in its treatment programming.

Defendant otherwise remains subject to all of the conditions of release previously imposed by the

court.

         IT IS SO ORDERED.

         Dated this 26th day of June, 2023.

                                               /s/ Clare R. Hochhalter
                                               Clare R. Hochhalter, Magistrate Judge
                                               United States District Court
